Case 2:04-cv-02212-.]DB-dkv Document 29 Filed 07/01/05 Page 1 of 2 Page|D 50

 

UNITED STATES DISTRICT COURT
WESTERN DISTRICT 0F TENNESSEHJS Ju. .'.', M -.,, 58

 

WES TERN DIVISION
UWAS M_. GOULD
QBK ll.‘~`. NSIB£}' mm
W)D 05 TN MEM°HS
SHEILA M. TAYLOR, .IUDGMENT IN A CIVIL CASE
Plaintit’f,
v.
UNION PLANTERS BANK, CASE NO: 04-2212-B
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Stipulated Order Of
Dismissal With Prejudice entered on June 24, 2005, this cause is hereby dismissed with
prejudice.

A OVED:

 

.1) NIEL BREEN "`

UNI D STATES DISTRICT COURT

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D te Clerk of Court

(By) Déuty Clerk

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with Rule 58 and;or?g(a) FHCP on__ L_§ §§ §

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:04-CV-02212 Was distributed by faX, mail, or direct printing on
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Kim Koratsky

WYATT TARRANT & CO1\/[BS
1715 Aaron Brenner Dr.

Ste. 800

P.O. Box 775000

1\/1emphis7 TN 38177--500

John Marshall J ones

BOURLAND HEFLIN ALAREZ & 1\/[[NOR
5400 Poplar Avenue

Ste. 100

1\/1emphis7 TN 38119

Robert L. Cranord

WYATT TARRANT & CO1\/[BS
1715 Aaron Brenner Dr.

Ste 800

P.O. Box 775000

1\/1emphis7 TN 38177--500

Sheila M. Taylor
1542 Carnegie St
1\/1emphis7 TN 38106

Honorable J. Breen
US DISTRICT COURT

